               Case 3:19-cr-00223-MPS Document 95-1 Filed 11/08/23 Page 1 of 2



                                                                                                   (Viol-Hrg //201)
                                                      HONORABLE: Michael P. Shea
                     DEPUTY CLERK D. Johnson                 RPTR/ECRO/TAPE J. Monette
TOTAL TIME:        1  hours 7   minutes    USPO Desiree Melendez   INTERPRETER
                        DATE: Nov. 8, 2023   START TIME:    1:03         END TIME: 2:10
                                           LUNCH RECESS FROM:                  TO:
                                 RECESS (if more than ½ hr)     FROM:          TO:

CRIMINAL NO. 3:19CR223(MPS)                  Deft #

              UNITED STATES OF AMERICA                         Sarah Karwan
                                                              AUSA
                             vs
                                                              Daniel Erwin
                      NYEJIRE REDMOND                          Defendant’s Counsel      CJA      Retained        PDA


              VIOLATION OF PROBATION/SUPERVISED RELEASE (post sentencing)

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         ,$5(92&$7,21+($5,1*BBBBBZLWK35(/,0,1$5<5(92&$7,21+($5,1*BBBBB
         COMPLIANCE REVIEW HEARINGBBBBB 5(92&$7,21+($5,1*BBBBB

 ..........    Deft arrested on
 ..........    Deft failed to appear, Bench warrant to issue
 ..........    Violation hearing continued to                          at
 ..........    Defendant admits violation
 ..........    CJA 23 Financial Affidavit filed      Sealed by the Court.
 ..........    Court appoints                          to represent dft      For this proceeding     for all proc.
               CJA Appointment date:                                 .
 ..........    Order Appointing Federal Public Defender’s Office filed
 ..........    Court finds deft has        has not violated terms of      probation       supervised release
 ..........    Probation/Supervised Release revoked            continued       modified
 ..........           10               months imprisonment on Count(s) One
 ..........    Upon release the defendant shall be on supervised release for a term of 0              years months
 ..........       Supervised release Probation continued for a period of                    years   months on
               count(s)
 ..........    Deft shall pay a fine of $             on Count(s)              to be paid by
 ..........    Court recommends incarceration at
 ..........    Deft shall pay $             per month for the cost of Incarceration           Supervised Release
                  Community confinement (halfway house)
 ..........    Deft shall refrain from any use or unlawful possession or distribution of a narcotic drug.
 ..........    Deft ordered to surrender on                 to U.S. Marshal          institution
 ..........    Bond      continued     set at $               Non-surety Surety PR
 ..........    Violation Sentencing set for                               at
 ..........    Defendant detained
 ..........    Evidentiary hearing held
 ..........    SEE CONDITIONS OF SUPERVISED RELEASE/PROBATION ON PAGE II
            Case 3:19-cr-00223-MPS Document 95-1 Filed 11/08/23 Page 2 of 2



                  CONDITIONS OF             SUPERVISED RELEASE                 PROBATION

...... Deft shall pay restitution in the amount of $             payable at the rate of $         per month

...... Deft shall be fined $               on count(s)                 to be paid during the defendant’s
       period of Supervised Release        Probation on a schedule to be determined by the U.S.P.O.

...... Deft shall obtain a psychiatric and/or psychological evaluation and /or counseling; substance abuse
       treatment and/or counseling; submit to random urine testing & monitoring; educational and/or vocational
       training;                                 as deemed necessary by the U.S.P.O.

...... Deft shall pay the cost of supervision of $             per month.

...... Deft shall perform community service for a period of         hours per week for         years(s) for a total
       of           hours.

...... Deft shall obtain and maintain full employment

...... Deft shall have no association with or be in the presence of, use, fabrication, assembly, transfer or
       dealing with weapons of any kind.

...... Deft is confined to his/her home for a period of      months     with electronic monitoring       without
       electronic monitoring

...... Deft shall pay the costs of electronic monitoring

...... Deft is sentenced to community confinement (halfway house) for a period of                months

...... During the period of house arrest the deft shall be home at all times except for employment, religious
       obligations, medical attention, and community service. Deft shall engage in no social activities with the
       exception of those exclusively family oriented.

...... Deft shall have no involvement nor relationship with nor be in the presence of any person who uses,
       deals with, or distributes drugs, nor shall he/she be in the presence of any actual usage of, dealing or
       distribution of drugs of any nature.

......
